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               EXHIBIT “A”
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                                                                    - 2/22/2021
                                                                       2021-DCL-01016 / 50781819
                                                                       LAURA PEREZ-REYES
                                                                       Cameron County District Clerk
                                                                       By Viviana Fuentes Deputy Clerk
                                         2021-DCL-01016
                               CAUSE NO.________________________

MARINA GARCIA                               §      IN THE DISTRICT COURT
Plaintiff,                                  §
                                            §      Cameron County - 138th District Court
                                            §
V.                                                 _____ JUDICIAL DISTRICT
                                            §
                                            §
CLARKSON INDUSTRIAL                         §
CONTRACTORS, INC., and JERRY                §
BOYD EDWARDS                                §
Defendants                                  §      CAMERON COUNTY, TEXAS


                             PLAINTIFF’S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES, Plaintiff MARINA GARCIA, and files this Plaintiff’s Original Petition

complaining of Defendants JERRY BOYD EDWARDS and CLARKSON INDUSTRIAL

CONTRACTORS, INC., for causes of action, Plaintiff would show as follows:

                                             I.
                             DISCOVERY CONTROL PLAN LEVEL

       1.1    Discovery shall be conducted under Level 3 pursuant to Rule 190.4 of the Texas

Rules of Civil Procedure.

                                            II.
                                   PARTIES AND SERVICE

       2.1    Plaintiff MARINA GARCIA, is an individual and resident of CAMERON

County, Texas.

       2.2       Defendant    JERRY    BOYD       EDWARDS      (hereinafter   referred      as

“EDWARDS”) is an individual and resident of the State of South Carolina. Defendant may be

served with process at Defendant’s residence located at 719 Butter Street, Landrum, South

Carolina, or wherever Defendant EDWARDS may be found within the State of Texas.


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       2.3      Defendant     CLARKSON           INDUSTRIAL         CONTRACTORS,             INC.,

(hereinafter referred as “CLARKSON”) is a company doing business in Texas. Service of

process on the Defendant may be effected pursuant to article 2.11(A) of the Texas Business

Organizations Code, by serving its registered agent for service, InCorp Services, Inc., 815 Brazos

Street, Suite 500, Austin, Texas, 78701. Service of said Defendant as described above can be

effected by certified mail.

                                          III.
                                JURISDICTION AND VENUE

       3.1     The subject matter in controversy is within the jurisdictional limits of this court.

This court has jurisdiction over the parties because the Defendant EDWARDS is a Texas

resident.

       3.2     Venue in CAMERON County is proper in this cause under Section 15.002(a)(1)

of the Texas Civil Practice and Remedies Code because all or a substantial part of the events or

omissions giving rise to this lawsuit occurred in this county.

       3.3     Pursuant to Tex. R. Civ. Pro. 47(c), Plaintiff seeks monetary relief over

$1,000,000.00, including damages of any kind, penalties, costs, expenses, pre-judgment interest

and attorney fees. Plaintiff pleads for such relief to allow the jury the necessary discretion to

award damages in the amount it sees fit.

                                                IV.
                                   FACTUAL BACKGROUND
                                           The Collision

       4.1     This lawsuit concerns a motor vehicle collision that occurred on July 9, 2020. At

the time of the collision, Ms. Garcia was driving her 2019 Dodge Charger, which was involved

in a collision with a 2014 Ford F250 (VIN No. 1FT7W2A60EEA57482) driven by Defendant

EDWARDS while under the authority and control of Defendant CLARKSON INDUSTRIAL


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CONTRACTORS, INC. Further, Defendant CLARKSON is the registered owner of the 2014

Ford F250 involved in the collision, which it entrusted to Defendant JERRY BOYD EDWARDS

on or around the date of the incident.

       4.2     The vehicular collision occurred on a Thursday morning near the intersection of

4500 Padre Island Hwy, and 3330 Boca Chica Blvd, within the city limits of Brownsville,

CAMERON County, Texas. Prior to the collision, Plaintiff was exiting a Home Depot Parking

lot and was traveling in the middle turn lane as she approached a controlled traffic light with the

intent to make a left turn on to Padre Island Hwy. At the same time, Defendant was traveling

southwest in the left lane of Padre Island Hwy as he approached said traffic light. The incident

ensued when Defendant EDWARDS failed to yield the right-of-way to Plaintiff’s vehicle by

failing to come to a stop at the red traffic light. As a result, Defendant’s truck T-Boned the

driver’s side of the Plaintiff’s vehicle as she attempted to make a lawful left-turn at the traffic

light. Due to the force of the impact, Plaintiff’s sustained severe bodily injuries and property

damages.

       4.3     The collision was investigated by Officer Cornelio Renteria of the Brownsville

Police Department. Officer Renteria reported the following in his official crash report:

       Unit 2 [Plaintiff’s vehicle] was stationary facing east at the exit drive of the
       Home Depot Parking Lot at a red traffic light. Unit 1 [Defendant’s vehicle] was
       traveling SW at 4500 SH 48 on the left lane. According to Unit 2’s driver she
       stated that she received a green traffic light and proceeded to make a left turn
       when Unit 1 did not stop striking Unit 2’s LD with its FD. Unit 1’s driver stated
       that he could not recall if the light was green or red. .

The following excerpt is from Officer Renteria’s crash report:




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The Employment Relationship Between the Defendants and The Resulting Vicarious Liability

       4.4      At the time of the collision, which is the subject of this cause of action, and at all

other relevant times, Defendant EDWARDS was an employee of Defendant CLARKSON, who

was acting within the course and scope of his employment.                In this regard, Defendant

EDWARDS was an employee insofar as the master-servant relationship under common law is

concerned.

       4.5      Alternatively, Defendant CLARKSON, is vicariously liable with respect to all

negligence of Defendant EDWARDS under the traditional common-law doctrines of the master-

servant relationship and respondeat superior.

                                            The Injuries

       4.6      Plaintiff suffered emotional and physical injuries as a result of this collision.

Immediately following the collision, Plaintiff reported experiencing neck and lower back pain

from the incident. Plaintiff has also consulted with physicians and received physical therapy in

an attempt to alleviate this pain. Plaintiff has undergone an MRI examination of her cervical and

spine and has been diagnosed with the following:

            C3-4: There is a 1 mm broad-based posterior central disc protrusion;
            C4-C5: There is a 1.5 mm broad-based posterior disc protrusion;
            C5-C6: There is a 1.5 mm broad-based posterior disc protrusion; and
            C6-C7: There is a 1.5 mm broad-based posterior central focal disc protrusion.




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       4.8       In addition, Plaintiff has undergone and MRI examination of her lumbar spine and

has been diagnosed with the following:

             L5-S1, there is a 3mm broad-based posterior disc protrusion extending
              paracentral region bilaterally. Annulus tear at right posterior paracentral
              region;
             L4-5, there is a 2 mm broad-based posterior disc protrusion extending into
              bilateral foramina, measuring 4mm right foramina and 3mm left foramina.
              Mild bilateral inferior foraminal narrowing, more on the right. Mild
              compromise of thecal sac; and
             L3-4, there is a 1.5 mm broad-based posterior disc protrusion; and
             L2-3, there is a 1.5 mm left foraminal focal disc protrusion.


       4.9       Based on the above findings, in all reasonable probability, Plaintiff will continue

to incur additional and future medical expenses to alleviate her pain. These medical treatments

may include, but are not limited to, physical therapy, daily medications, and pain management

treatments.

                                                 V.
                        PLAINTIFF’S CLAIM FOR
      – NEGLIGENCE AND/OR NEGLIGENCE PER SE AGAINST JERRY BOYD
                             EDWARDS–

       A.        Negligence

       5.1       Defendant, CLARKSON, Inc. is the responsible party defendant for the actions of

its employee, Defendant EDWARDS, acting within the course and scope of his employment.

       5.2       Under the doctrine of respondeat superior, Defendant, CLARKSON, is

vicariously liable for the actions of its employee, Defendant EDWARDS, while in the course and

scope of his employment. The occurrence made the basis of this suit, referred to above, and the

resulting injuries and damages were proximately caused by the negligent acts and/or omissions

of Defendant, CLARKSON’s employee, which consisted of, but are not limited to, the following

actions and omissions:


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       A.      Failing to keep a proper lookout for Plaintiff’s safety that would have been
               maintained by a person of ordinary prudence under the same or similar
               circumstances;

       B.      Placing Plaintiff in a position of peril due to Defendant’s lack of due care and
               exercise of ordinary prudence of a person of Defendant’s maturity and capacity
               under similar circumstances;

       C.      Failing to operate a motor vehicle at a speed that is reasonable and prudent under
               the conditions and with regard to the actual and potential hazards then existing
               and at a speed necessary to avoid colliding with any person, vehicle, or other
               conveyance on the roadway in violation of Tex. Tranp. Code § 545.351,
               constituting negligence per se;

       D.      Failing to apply brakes to a motor vehicle in a timely and prudent manner;

       E.      Failing to exercise reasonable care to protect the safety of others who are using
               the roadways;

       F.      Failing to take evasive action to avoid colliding with other vehicles on the
               roadway;

       G.      Failing to use the vehicle’s horn, lights, and/or other equipment to warn Plaintiff
               of the impending collision;

       H.      Failing to maintain a safe distance between two vehicles;

       I.      Driver inattention;

       J.      Failing to yield-the-right of way to Plaintiff’s vehicle; and

       K.      Failing to stop at a red light in violation of Texas Penal Code Section 544.007.


       5.3     The above actions and omissions committed by the Defendant constitute

negligence and/or negligence per se as described herein and were the proximate cause of the

subject collision and the injuries and damages sustained by the Plaintiff.

       5.4     At the time of the collision, Plaintiff was acting as an ordinary prudent person and

exercised ordinary care under the circumstances described herein.              The collision was not




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expected by the Plaintiff, and Plaintiff committed no actions or omissions that caused, or

contributed to causing, the collision underlying this suit.

                                                 VI.
                          PLAINTIFF’S CLAIM FOR
        – NEGLIGENCE AND/OR NEGLIGENCE PER SE AGAINST CLARKSON
                  INDUSTRIAL CONTRACTORS, INC.–

       A. RESPONDEAT SUPERIOR

       6.1      The Defendant, CLARKSON, is liable under the doctrine of Respondeat Superior

in that Defendant EDWARDS was operating the vehicle in the course and scope of his

employment with Defendant, CLARKSON, at the time of the collision.

       6.2      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant, EDWARDS, was within the course and scope of his employment with Defendant,

CLARKSON.

       6.3      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant EDWARDS was engaged in the furtherance of Defendant CLARKSON’s business.

       6.4      At the time of the occurrence of the act in question and immediately prior thereto,

Defendant EDWARDS was engaged in accomplishing a task for which Defendant EDWARDS

was employed.

       6.5      Plaintiff invokes the doctrine of Respondeat Superior against Defendant,

CLARKSON.

       B. NEGLIGENCE

       6.6      Defendant CLARKSON was also independently negligent in one or more of the

following respects:

                a.     negligent hiring of Defendant EDWARDS;
                b.     negligent entrustment of the vehicle to of Defendant EDWARDS;
                c.     negligent driver qualifications;

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               d.      negligent training and supervision of Defendant EDWARDS;
               e.      negligent retention of Defendant EDWARDS;
               f.      negligent contracting; and/or
               g.      negligent maintenance of the vehicle Defendant EDWARDS was
                       operating at the time of the crash.

       6.7     As described herein, Defendant CLARKSON was negligent on the occasion in

question and such negligence was the proximate cause of Plaintiff’s injuries and damages.

       6.8     Each of these acts and/or omissions, whether taken singularly or in any

combination constitute negligence and/or negligence per se, which proximately caused the

collision and injuries and other losses as specifically set forth herein, all of which Plaintiff

suffered and which he will continue to suffer in the future, if not for the remainder of his natural

life, and the damages and other losses to Plaintiff.

       C. GROSS NEGLIGENCE

       6.9     The above-referenced acts and/or omissions by Defendant constitute gross

negligence and/or malice as those terms are defined in §§ 41.001(7) and 41.001(11) of the Texas

CIVIL PRACTICE & REMEDIES CODE. Defendant was heedless and reckless, and its actions

constituted an extreme degree of risk, considering the probability and magnitude of the potential

harm to others. Defendant was aware of the risk but nevertheless proceeded with conscious

indifference to the rights, safety, and welfare of others, including Plaintiff. The above acts

and/or omissions were singularly and cumulatively the proximate cause of the occurrence in

question and the resulting injuries and damages sustained by Plaintiff.

       6.10    Defendant’s actions and/or omissions described above, when viewed from the

standpoint of Defendant at the time of the act or omission, involved an extreme degree of risk,

considering the probability of harm to Plaintiff and others.




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       6.11    Defendant had actual, subjective awareness of the risk involved, but still

proceeded in the indifference to the rights, safety, or welfare of Plaintiff and others.

       6.12    The above acts and/or omissions were singularly and cumulatively the proximate

cause of the occurrence in question and the resulting injuries and damages sustained by Plaintiff.

                                               VII.
                             PLAINTIFF’S CLAIM FOR DAMAGES

       7.1     As a direct and proximate result of the collision made the basis of this lawsuit,

Plaintiff was caused to suffer bodily injuries, and to incur the following damages:

       A.      Reasonable medical care and expenses in the past. These expenses were incurred
               by the Plaintiff for the necessary care and treatment of the injuries resulting from
               the accident complained of herein and such charges are reasonable and were usual
               and customary charges for such services in localities in which they were incurred;

       B.      Reasonable and necessary medical care and expenses which will in all reasonable
               probability be incurred in the future;

       C.      Physical pain and suffering in the past and in the future;

       D.      Physical impairment and deformity in the past and which, in all reasonable
               probability, will continue to be suffered by the Plaintiff in the future;

       E.      Loss of earning capacity in the past and which, in all reasonable probability, will
               be suffered in the future;

       F.      Mental anguish in the past and in the future;

       G.      Past and future lost wages; and

       H.      Property damages and/or loss of use of Plaintiff’s vehicle.

       7.2     In addition, as a result of the collision, Plaintiff has incurred expenses for medical

treatment and such expenses are continuing to accrue as of the filing of this petition. All of these

expenses are reasonable and customary in the localities in which they were incurred.




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        7.3    As a further result of the injuries sustained by the Plaintiff, there is a reasonable

probability that Plaintiff will require further medical treatment and will incur future reasonable

and necessary expenses.

                                   EXEMPLARY DAMAGES

        7.4    Plaintiff’s injuries resulted from the Defendants’ gross negligence, and therefore

Plaintiff is entitled to exemplary damages under section 41.003 (a) of the Texas Civil Practice &

Remedies Code.        The above-referenced acts and/or omissions by Defendants also, or

alternatively, constitute malice as that term is defined in Section 41.001(7)(B) Texas Civil

Practice and Remedies Code.

        7.5    Therefore, for such gross negligence and/or malice on behalf of Defendants,

Plaintiff respectfully requests exemplary damages in an amount to be determined by a jury of

their peers.

                                                VIII.
 REQUEST FOR DISCLOSURES TO DEFENDANTS JERRY BOYD EDWARDS AND
           CLARKSON INDUSTRIAL CONTRACTORS, INC.

        8.1    Pursuant to Rule 194, each of the above listed Defendants are requested to

disclose, within 50 days after service of this request, the information or material described in

Rule 194.2(a)-(l) at the address of the attorney for the Plaintiff located at 2401 Wild Flower Dr.,

Suite A, Brownsville, Texas 78526. Further, pursuant to Rule 190, Defendants are requested to

disclose, within 50 days after service of this request, the information or material described in

Rule 190.2(b)(6) at the address of the attorney for Plaintiff.


                                             PRAYER

        WHEREFORE,          PREMISES        CONSIDERED,          Plaintiff,   MARINA    GARCIA,

respectfully prays that the Defendant JERRY BOYD EDWARDS and CLARKSON


                                                                                            Page 10
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INDUSTRIAL CONTRACTORS, INC., be cited to appear and answer herein, and that upon a

final hearing of the cause, judgment be entered for the Plaintiff against Defendants, jointly and

severally, for damages in an amount within the jurisdictional limits of the Court; together with

pre-judgment interest at the maximum rate allowed by law; post-judgment interest at the legal

rate, costs of court; and such other and further relief to which the Plaintiff may be entitled at law

or in equity.




                                              Respectfully submitted,

                                              LAW OFFICES OF JAVIER VILLARREAL
                                              2401 Wildflower Drive, Suite A
                                              Brownsville, Texas 78520
                                              Tel: (956) 544-4444
                                              Fax: (956) 550-0877


                                              By:     /s/ Mike Trevino
                                                  Javier Villarreal
                                                  State Bar No. 24028097
                                                  Daniel A. Torres
                                                  State Bar No. 24046985
                                                  Mike Trevino
                                                  State Bar No. 24093280
                                              COUNSEL FOR PLAINTIFF

                    PLAINTIFF DEMANDS A TRIAL BY JURY




                      COURTESY NOTICE TO DEFENDANTS


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       If you had insurance at the time of the accident, please forward a copy of this petition to

your insurance company immediately.

The Hartford Commercial Auto Center
Attn: Carlos Montiel
Phone No.: (210) 591-4695
Toll Free No.: (800) 236-0398 Ext. 2307630
Fax No.: (866) 809-0964

Re. Claim No. Y2VAL49066
Insured: Clarkson Industrial Contractors, Inc.
Insurer: Hartford Casualty Insurance Company
Claimant: MARINA GARCIA
Date of Loss: July 9, 2020




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                                                              LAURA PEREZ-REYES
                                                              Cameron County District Clerk
                                                              By Ezequiel Zepeda Deputy Clerk
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            LAURA PEREZ-REYES                                                   Cameron County District Clerk
                                                                                By Adriana Munoz Deputy Clerk

                               CAUSE NO. 2021-DCL-01016-B


 MARINA GARCIA                                                IN TI-IE DISTRICT COURT
 Plaintiffs
                                                              Cameron County- 13&th District Court
 V.
 CLARKSON lNDUSTRIAL                                           _ _ _ JUDICAL DISTRICT
 CONTRACTORS, INC., and JERRY
 BOYD EDWARDS
 Defendants                                                   CAMERON COUNlY, TEXAS



                                      SERVER'S RETURN


Before me, the undersigned notary, on this day, personally appeared Lory Ramirez, a person
whose identity is known to me. After I administered an oath to her, upon this oath he said:

"My name Lory Ramirez, and I make the following representation to the judge of the Court
regarding the service of citation in this case:   ·

           1. I received this citation on February 24, 2021 executed it by mailing, from the
              United States Post Office in Weslaco, Texas, a true copy ofthe citation, with a
              copy of the Original Petition attached, by certified mail, return receipt requested
              (item# 7020 2450 0000 8621 7116) on February 25, 2021 to Jerry Boyd Edwards
              713 Butter Street Landrum SC 29356. The return receipt, with the addressee's
              signature is attached .

           2. I am not a party to, nor do I have any interest in, the outcome of this case.

           3. I am more than 18 years of age.

           4. I am familiar with the Texas Rules of the Civil Procedure and other rules and
              statutes relating to service of citation.



                                                                           C12231 EXP 8/31/2023

SUBSRIBED AND SWORN TO ME, on March 8, 2021 by Lory Ramirez.




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                                                                               LAURA PEREZ-REYES
                                                                               Cameron County District Clerk
                                                                               By Ezequiel Zepeda Deputy Clerk
(2021-109)


                                  CAUSE NO. 2021-DCL-01016

MARINA GARCIA                                     §           IN THE DISTRICT COURT
                                                  §
VS.                                               §
                                                  §           138TH JUDICIAL DISTRICT
CLARKSON INDUSTRIAL                               §
CONTRACTORS, INC., and JERRY                      §
BOYD EDWARDS                                      §           CAMERON COUNTY, TEXAS


                            DEFENDANTS’ ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

        COME NOW Defendants, CLARKSON INDUSTRIAL CONTRACTORS, INC., and

JERRY BOYD EDWARDS, and hereby make and file this their Original Answer to Plaintiff’s

Original Petition and in support hereof would show the Court as follows:

                                                  I.

                                       GENERAL DENIAL

        1.1     Defendants deny each and every, all and singular, the allegations in Plaintiff’s

Original Petition, and say they are not true, in whole or in part, and demand strict proof thereof on

the trial of this cause.

        WHEREFORE, PREMISES CONSIDERED, Defendants, CLARKSON INDUSTRIAL

CONTRACTORS, INC., and JERRY BOYD EDWARDS, respectfully pray that Plaintiff take

nothing from these Defendants and that the Court enter a judgment dismissing all claims against

these Defendants with prejudice and awarding all costs of court and expenses incurred herein, and

for such other and further relief, at law and in equity, general or special, to which these Defendants

might show themselves to be justly entitled to receive.
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                                                Respectfully submitted,

                                                HODGE JAMES JILPAS & NICHOLS
                                                Attorneys at Law
                                                P.O. Box 534329 (78553)
                                                1617 E. Tyler Ave., Suite A
                                                Harlingen, Texas 78550
                                                Telephone: (956) 425-7400
                                                Facsimile: (956) 425-7707



                                                /s/ Anthony B. James
                                                Anthony B. James
                                                State Bar No. 10537300
                                                Email: ajames@hodgejames.com

                                                Attorneys for Defendants


                                        CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing, Defendants’ Original
Answer, has been served on the 17th day of March, 2021, to all attorneys of record electronic mail
as follows:

                Via Email
                Javier Villarreal
                Mike Trevino
                Daniel A. Torres
                Law Offices of Javier Villareal
                2401 Wildflower Drive, Suite A
                Brownsville, Texas 78520


                Attorney for Plaintiff


                                                /s/ Anthony B. James
                                                Anthony B. James




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